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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

MICHAEL DEWAYNE MCCRAY                                                           PLAINTIFF
ADC #165654

V.                              NO. 4:20-cv-00235-JM-ERE

DALE REED, Chief Deputy
Director of ADC, et al.                                                       DEFENDANTS

                                       JUDGMENT

      Consistent with the Order entered today, judgment is entered for Defendants and this case

is DISMISSED, with prejudice.

      IT IS SO ORDERED, this 14th day of October, 2021.


                                             ________________________________
                                             UNITED STATES DISTRICT JUDGE
